   Case: 1:07-cv-00750-SJD Doc #: 60 Filed: 03/25/09 Page: 1 of 1 PAGEID #: 1738




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION


Beaver County Retirement Board                  :
                                                :
               Plaintiff(s)                     :
                                                :   Case Number: 1:07cv750
       vs.                                      :
                                                :   Chief Judge Susan J. Dlott
LCA-Vision Inc., et al.,                        :
                                                :
               Defendant(s)                     :

                                JUDGMENT IN A CIVIL CASE


        Decision by Court: This action came to trial or hearing before the Court. The issues have
been tried or heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED

. . . that Defendant’s motion to dismiss (doc.#31) is GRANTED.




3/25/09                                                     JAMES BONINI, CLERK


                                                             S/William Miller
                                                            Deputy Clerk
